            Case 1:20-cv-00203-N/A Document 2          Filed 09/17/20     Page 1 of 29



                UNITED STATES COURT OF INTERNATIONAL TRADE

________________________________________________
                                                )
SHANDEX CORPORATION                             )
                                                )
                  Plaintiff,                    )
                                                )
            v.                                  )                   Court No. 20-00203
                                                )
UNITED STATES OF AMERICA;                       )
OFFICE OF THE UNITED STATES TRADE               )
REPRESENTATIVE; ROBERT E. LIGHTHIZER, U.S. )
TRADE REPRESENTATIVE; U.S. CUSTOMS &            )
BORDER PROTECTION; MARK A. MORGAN, U.S.         )
CUSTOMS & BORDER PROTECTION ACTING              )
COMMISSIONER,                                   )
                                                )
                  Defendants.                   )
________________________________________________)

                                        COMPLAINT

       Plaintiff, Shandex Corporation (“Shandex”), by and through its attorneys, alleges and states

as follows:

                                           Summary

       1.       This action concerns Defendants’ prosecution of an unprecedented and unlimited

trade war affecting more than $500 billion in imports from the People’s Republic of China. This

Complaint challenges Defendants’ unlawful escalation of that trade war through the imposition of

a third round and a fourth round of tariffs on products covered by “List 3” and “List 4A.” Notice

of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept. 21, 2018); Notice of

Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 45,821 (Aug. 30, 2020), revising and

increasing the additional duty from 10 percent to 15 percent in the Defendants’ earlier
            Case 1:20-cv-00203-N/A Document 2            Filed 09/17/20      Page 2 of 29



announcement of the same covered products under List 4A, Notice of Modification of Section 301

Action: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 84 Fed. Reg. 43,304 (Aug. 20, 2019); Notice of Modification of Section

301 Action: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 85 Fed. Reg. 3,741 (Jan. 22, 2020) (further revising the additional duty

for List 4A, as announced in the August 30, 2020 public notice from 15 percent to 7.5 percent).

       2.       The Trade Act of 1974 (“Trade Act”) did not confer unlimited authority on

Defendants to impose duties or tariffs on a foreign country to eliminate the unfair act, policy, or

practice of a foreign country. 19 U.S.C. § 2411. Rather, it limits the Defendants’ power both

substantively, by requiring that the action be “equivalent in value to the burden or restriction being

imposed by that country on United States commerce”, and procedurally, by setting the time in which

to act. 19 U.S.C. § 2411(a)(1) and (a)(3); 19 U.S.C. § 2414. Any modification or termination of

an action taken under Section 2411 of the Trade Act must be limited to circumstances when:

       (A) any of the conditions described in section 2411(a)(2) of this title exist,

       (B) the burden or restriction on United States commerce of the denial rights, or of
       the acts, policies, and practices, that are the subject of such action has increased or
       decreased, or

       (C) such action is being taken under section 2411(b) of this title and is no longer
       appropriate.

19 U.S.C. § 2417(a)(1). There are limits to the Defendants’ authority under the statute that must

be preserved and that the Defendants surpassed in this case.

       3.       The United States Trade Representative (“USTR”) commenced an investigation

into China’s unfair intellectual property policies and practices pursuant to Section 301 of the Trade

Act (19 U.S.C. § 2411). Section 304 of the Trade Act (19 U.S.C. § 2414) required USTR to




                                                  2
            Case 1:20-cv-00203-N/A Document 2             Filed 09/17/20    Page 3 of 29



determine what action to take, if any, within 12 months after initiation of that investigation. But

USTR failed to issue List 3 and List 4A within that window.

       4.       The “modification” authority under Section 307 of the Trade Act (19 U.S.C. §

2417) does not give the Defendants complete freedom to do whatever USTR chooses under the

guise of eliminating China’s unfair intellectual property practices either. Section 307 of the Trade

Act does not permit USTR to expand the scope of the imposition of tariffs to other imports from

China for reasons unrelated to the acts, policies, or practices that USTR originally investigated

under Section 301 of the Trade Act. Rather, the “modification” authority shall be contained within

the limits of the authority vested under Section 301 of the Trade Act.

       5.       Defendants, however, promulgated the List 3 and List 4A duties and subsequently

modified the duties of List 4A in response to China’s retaliatory duties and other unrelated issues.

       6.       Even if USTR deemed the existing tariffs “no longer appropriate”, as it also did

here, the Trade Act permits USTR only to modify or terminate the actions it has already taken

within the constraints of Section 301 of the Trade Act.

       7.       The arbitrary way in which Defendants implemented the List 3 and List 4A tariff

actions also violates the Administrative Procedure Act (“APA”). The APA prohibits agency

actions that are “arbitrary”, “capricious”, or “without observance of procedure required by law.”

5 U.S.C. § 706(2)(A), (D). USTR (1) failed to provide sufficient opportunity for comment for

each modification that Section 307 of the Trade Act mandates, by, inter alia, requiring interested

parties to submit affirmative and rebuttal comments on the same day for its imposition of

additional duties under List 3 and depriving the public of the statutorily-required review and

comment opportunities for its modification of additional duties under List 4A on August 30, 2020,

and on January 22, 2020; (2) failed to consider relevant factors when promulgating the tariffs, e.g.,



                                                 3
             Case 1:20-cv-00203-N/A Document 2             Filed 09/17/20      Page 4 of 29



undertaking no analysis of the supposed “increased burden” imposed on U.S. commerce from the

unfair intellectual property policies and practices that it originally investigated; and (3) failed to

connect the record facts to the choices it made. Indeed, despite receiving over 6,000 comments

for List 3 and over 3,000 comments for the initial imposition for List 4A, USTR said absolutely

nothing about how those comments shaped its promulgation of List 3 and List 4A. USTR,

subsequent to its initial imposition of additional duties on List 4A, made at least two additional

modifications to the duties for List 4A but did not bother providing the public the comment and

review opportunity for each of these modifications.             USTR’s actions – its preordained

promulgation and modification of List 3 and List 4A -- violate the APA.

        8.       The Court should set aside Defendants’ actions as ultra vires and otherwise

contrary to law, as well as order Defendants to refund (with interest) any duties paid by Plaintiff

pursuant to List 3 and List 4A.

                                          JURISDICTION

        9.       The Court possesses subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1581(i)(1)(B), which confers “exclusive jurisdiction” to the Court over “any civil action

commenced against the United States, its agencies, or its officers, that arises out of any law of the

United States providing for . . . tariffs, duties, fees, or other taxes on the importation of merchandise

for reasons other than the raising of revenue.” 28 U.S.C. § 1581(i)(1)(B).

                                              PARTIES

        10.      Plaintiff Shandex is a privately-owned company founded in February 2010 that is

located in Fort Lee, New Jersey. Shandex operates in the concrete building products industry (i.e.,

brick stone and related construction materials) and imports related construction materials (i.e.,

fasteners, anchor bolts, drywall screws, etc.). The products it imports from China are used in a

broad range of U.S. construction projects. Shandex employs 16 individuals in the United States

                                                   4
         Case 1:20-cv-00203-N/A Document 2             Filed 09/17/20     Page 5 of 29



and generates approximately $46 million in revenue annually. Shandex has made numerous

entries of building and construction products       classified under these HTSUS subheadings:

7217.20.3000; 7216.91.00; 7804.11.00; 7307.91.10; 7314.42.00; 7314.31.50; 7314.20.00;

7326.20.00; 3923.90.00; 7317.00.75; 7317.00.65; 7317.00.55; 7326.90.86; 9401.90.35;

9401.79.00; 7318.15.60; 3920.10.00; 2827.20.00; 2827.31.50; 5603.93.00; 5407.20.00;

7318.15.20; 7318.22.00; 3925.90.00; 7313.00.00; 4819.10.00; 7316.00.00; 7217.20.30;

7217.10.80; 3926.90.99; 7216.10.00; 8305.20.00; 6305.33.00; 7318.16.00; 7217.10.50;

6307.90.98; and, 7217.90.10, all of which are subject to the additional ad valorem duties under

List 3 and List 4A.

       11.       Defendant United States of America received the disputed tariffs and is the

statutory defendant under 5 U.S.C. § 702 and 28 U.S.C. § 1581(i)(1)(B).

       12.       The Office of the USTR is an executive agency of the United States charged with

investigating a foreign country’s trade practices under Section 301 of the Trade Act and

implementing “appropriate” responses, subject to the direction of the President. USTR conducted

the Section 301 investigation at issue and made numerous decisions regarding List 3 and List 4A.

       13.       Ambassador Robert Lighthizer currently holds the position of USTR and serves as

the director of the Office of the USTR. In these roles, he made numerous decisions regarding List

3 and List 4A.

       14.       Defendant U.S. Customs & Border Protection (“CBP”) is the agency that collects

duties on imports. CBP collected payments made by Plaintiff to account for the tariffs imposed

by USTR under List 3 and List 4A.

       15.       Defendant Mark A. Morgan is the Acting Commissioner of CBP. In this capacity,

he oversees CBP’s collection of duties paid by Plaintiff under List 3 and List 4A.



                                                5
          Case 1:20-cv-00203-N/A Document 2               Filed 09/17/20   Page 6 of 29



                                            STANDING

       16.     Shandex, has standing to sue because it is “adversely affected or aggrieved by

agency action within the meaning of the APA. 5 U.S.C. § 702; see 28 U.S.C. § 2631(i) (“Any civil

action of which the Court of International Trade has jurisdiction . . . may be commenced in the

court by any person adversely affected or aggrieved by agency action within the meaning of

Section 702 of title 5.”). Tariffs imposed by Defendants pursuant to List 3 and List 4A adversely

affected and aggrieved Shandex because it was required to pay these unlawful duties.

                                TIMELINESS OF THE ACTION

       17.     A plaintiff must commence an action under 28 U.S.C. § 1581(i)(1)(B) “within two

years after the cause of action first accrues.” 28 U.S.C. § 2636(i).

       18.     The instant action contests actions taken by Defendants that resulted in List 3 and

List 4A. Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 47,974 (Sept.

21, 2018); Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304 (Aug.

20, 2019)); Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 45,821 (Aug.

30, 2020); Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices

Related to Technology Transfer, Intellectual Property, and Innovation, 85 Fed. Reg. 3,741 (Jan.

22, 2020). Plaintiff’s claims accrued at the earliest on September 21, 2018, when USTR published

notice of List 3 in the Federal Register; List 4A was published in the Federal Register on August

20, 2019. Id. Plaintiff has therefore timely filed this action.




                                                  6
           Case 1:20-cv-00203-N/A Document 2            Filed 09/17/20    Page 7 of 29



                                        RELEVANT LAW

       19.     Section 301 of the Trade Act authorizes USTR to investigate a foreign country’s

trade practices. 19 U.S.C. § 2411(b). If the investigation reveals an “unreasonable or

discriminatory” practice, USTR may take “appropriate” action, such as imposing tariffs on imports

from the country that administered the unfair practice. 19 U.S.C. § 2411(b) and (c)(1)(B).

       20.     Section 304 of the Trade Act requires USTR to determine what action to take, if

any, within 12 months after the initiation of the underlying investigation. 19 U.S.C. §

2414(a)(1)(B) and (2)(B).

       21.     Section 307 of the Trade Act (in pertinent part) allows USTR to “modify or

terminate” an action taken pursuant to Section 301 of the Trade Act either when the “burden or

restriction on United States commerce” imposed by the investigated foreign country’s practice has

“increased or decreased” or when the action “is no longer appropriate.” 19 U.S.C. § 2417(a)(1)(B)

and (C).

       22.     Section 307 of the Trade Act further provides: “Before taking any action under

paragraph (1) to modify or terminate any action taken under section 2411 of this title, the Trade

Representative shall consult with the petitioner, if any, and with representatives of the domestic

industry concerned, and shall provide opportunity for the presentation of views by other interested

persons affected by the proposed modification or termination concerning the effects of the

modification or termination and whether any modification or termination of the action is

appropriate.” 19 U.S.C. § 2417(a)(2).

       23.     The APA prohibits agency actions that are “arbitrary” or “capricious”, “in excess

of statutory jurisdiction, authority, or limitations, or short of statutory right”, or “without

observance of procedure required by law”. 5 U.S.C. § 706(2)(A), (C) and (D).



                                                7
         Case 1:20-cv-00203-N/A Document 2              Filed 09/17/20     Page 8 of 29



       24.     The APA requires agencies to comply with the various procedural requirements

when issuing new “substantive” or “legislative” rules.        5 U.S.C. § 553. These procedural

requirements generally include a “notice of proposed rule making . . . published in the Federal

Register,” and an opportunity for “interested persons” to submit “written data, views, or

arguments.” 5 U.S.C. § 553(b) and (c); Parkdale Int'l, Ltd. v. United States, 31 C.I.T. 1229, 1356

(Aug. 8, 2007). An agency is required to consider the comments it receives and publish a final rule

together with a “statement of . . . basis and purpose” explaining the rationale for its decision. 5

U.S.C. § 553(c); Parkdale Int’l, 31 C.I.T. at 1356. Exceptions, however, exist for “interpretative

rules, general statements of policy, or rules of agency organization, procedure, or practice,” often

called “interpretive rules.” 5 U.S.C. § 553(b).

                                  PROCEDURAL HISTORY

I.     USTR’s Investigation

       25.     The current U.S.-China trade war grew from a narrow dispute. On August 14, 2017,

President Trump directed Ambassador Lighthizer to consider initiating a targeted investigation

pursuant to Section 301(b) of the Trade Act concerning China’s laws, policies, practices and actions

related to intellectual property, innovation, and technology. Addressing China’s Laws, Policies,

Practices, and Actions Related to Intellectual Property, Innovation, and Technology, 82 Fed. Reg.

39,007 (Aug. 17, 2017). According to the President, certain Chinese “laws, policies, practices, and

actions” on intellectual property, innovation, and technology “may inhibit United States exports,

deprive United States citizens of fair remuneration for their innovations, divert American jobs to

workers in China, contribute to our trade deficit with China, and otherwise undermine American

manufacturing, services, and innovation.” Id.

       26.     Four days later, on August 18, 2017, USTR formally initiated an investigation into

“whether acts, policies, and practices of the Government of China related to technology transfer,

                                                  8
         Case 1:20-cv-00203-N/A Document 2               Filed 09/17/20      Page 9 of 29



intellectual property, and innovation are actionable under [Section 301(b) of] the Trade Act.”

Initiation of Section 301 Investigation; Hearing; and Request for Public Comments: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 82

Fed. Reg. 40,213 (Aug. 24, 2017).

       27.     Seven months later, on March 22, 2018, USTR released a report announcing the

results of its investigation. OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE,

Findings of the Investigation Into China’s Acts, Policies, And Practices Related to Technology

Transfer, Intellectual Property, and Innovation Under Section 301 of The Trade Act of 1974 (March

22, 2018), available at https://ustr.gov/sites/default/files/Section%20301%20FINAL.PDF. USTR

found that certain “acts, policies, and practices of the Chinese government related to technology

transfer, intellectual property, and innovation are unreasonable or discriminatory and burden or

restrict U.S. commerce.” Id. at 17. USTR based its findings on (1) China’s use of foreign ownership

restrictions, foreign investment restrictions, and administrative licensing and approval processes to

pressure technology transfers from U.S. to Chinese companies, id. at 45; (2) China’s use of licensing

processes to transfer technologies from U.S. to Chinese companies on terms that favor Chinese

recipients, id. at 48; (3) China’s facilitation of systematic investment in, and acquisition of, U.S.

companies and assets by Chinese entities to obtain technologies and intellectual property for purposes

of large-scale technology transfer, id. at 147; and (4) China’s cyber intrusions into U.S. computer

networks to gain access to valuable business information, id. at 171. In its report, USTR did not

quantify the burden or restriction imposed on U.S. commerce by the investigated practices.

       28.     On the same date, USTR published a “Fact Sheet” stating that “[a]n interagency

team of subject matter experts and economists estimates that China’s policies result in harm to the

U.S. economy of at least $50 billion per year.” OFFICE OF THE UNITED STATES TRADE



                                                  9
           Case 1:20-cv-00203-N/A Document 2             Filed 09/17/20     Page 10 of 29



REPRESENTATIVE, Section 301 Fact Sheet (March 22, 2018), available at https://ustr.goviabout-

us/policy-offices/press-office/fact-sheets/2018/march/Section-301-fact-sheet. USTR also indicated

that, consistent with a directive from President Trump, it would “propose additional tariffs” of 25

percent ad valorem “on certain products of China, with an annual trade value commensurate with

the harm caused to the U.S. economy resulting from China’s unfair policies.” Id.; see Actions by the

United States Related to the Section 301 Investigation of China’s Laws, Policies, Practices, or

Actions Related to Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 13,099

(March 27, 2018) (President Trump’s directive).

II.    Lists 1 & 2

       29.     Between April and August 2018 (i.e., within the 12-month statutory deadline from

the initiation of the investigation in August 2017, see 19 U.S.C. § 2414(a)(2)(B)), Defendants

undertook a series of actions to remedy the estimated harm to the U.S. economy caused by the

investigated unfair practices, ultimately imposing duties on imports from China covered by Lists

1 and 2.

       30.     On April 6, 2018, USTR published notice of its intent to impose “an additional duty

of 25 percent on a list of products of Chinese origin.” Notice of Determination and Request for Public

Comment Concerning Proposed Determination of Action Pursuant to Section 301: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 83

Fed. Reg. 14,906, 14,907 (April 6, 2018). The products on the proposed list covered 1,333 tariff

subheadings with a total value of “approximately $50 billion in terms of estimated annual trade

value for calendar year 2018.” Id. at 14,907. USTR explained that it chose $50 billion because that

amount was “commensurate with an economic analysis of the harm caused by China’s unreasonable

technology transfer policies to the U.S. economy, as covered by USTR’s Section 301 investigation.”

OFFICE OF THE UNITED STATES TRADE REPRESENTATIVE, Under Section 301 Action,

                                                  10
         Case 1:20-cv-00203-N/A Document 2               Filed 09/17/20     Page 11 of 29



USTR Releases Proposed Tariff List on Chinese Products (April 3, 2018), available at https

https://ustr.gov/about-us/policy-offices/press-office/press-releases/2018/april/under-section-301-

action-ustr.

        31.    On June 20, 2018, USTR published notice of its final list of products subject to an

additional duty of 25 percent ad valorem, a list commonly known as “List 1.” Notice of Action and

Request for Public Comment Concerning Proposed Determination of Action Pursuant to Section

301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property,

and Innovation, 83 Fed. Reg. 28,710 (June 20, 2018). USTR explained that it had “narrow[ed] the

proposed list in the April 6, 2018 notice to 818 tariff subheadings, with an approximate annual

trade value of $34 billion.” Id. at 28,711.

        32.    At the same time it finalized List 1, USTR announced that it intended to impose a

25 percent ad valorem duty on a second proposed list of Chinese products in order to “maintain

the effectiveness of [the] $50 billion trade action” grounded in its Section 301 investigation. Id. at

28,712. USTR announced a proposed “List 2” covering 284 tariff subheadings with “an

approximate annual trade value of $16 billion.” Id. at 28,711-12.

        33.    On August 16, 2018, USTR published notice of the final list of products subject to

an additional duty of 25 percent ad valorem in List 2, comprising “279 tariff subheadings” whose

“annual trade value . . . remains approximately $16 billion.” Notice of Action Pursuant to Section

301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property,

and Innovation, 83 Fed. Reg. 40,823, 40,823-24 (Aug. 16, 2018).

III.    List 3 and List 4A

        34.    As soon as USTR announced the results of its investigation in March 2018, tensions

between the governments of China and the United States escalated dramatically. In the months that

followed, Defendants wildly expanded the scope of the tariffs imposed under Section 301 of the

                                                 11
           Case 1:20-cv-00203-N/A Document 2               Filed 09/17/20       Page 12 of 29



Trade Act to cover imports worth more than $500 billion — ten times the amount deemed

“commensurate” with the findings of USTR’s original investigation. Defendants did so for reasons

untethered to the unfair practices that USTR had investigated: China’s tit-for-tat countermeasures

and a hodgepodge of grievances related to China’s role on the world stage.

          A.        List 3

          35.       Shortly after President Trump directed USTR in April 2018 to consider imposing

duties on $50 billion in Chinese products, China promptly threatened to impose retaliatory duties

on the same value of imports from the United States. In response, President Trump “instructed the

USTR to consider whether $100 billion of additional tariffs would be appropriate under Section

301” due to “China’s unfair retaliation.” THE WHITE HOUSE, Statement from Donald J. Trump

on   Additional        Proposed    Section    301   Remedies    (April     5,    2018),   available   at

https://www.whitehouse.gov/briefings-statements/statement-president-donald-j-trump-

additional-proposed-section-301-remedies/.

          36.       When USTR finalized List 1 in mid-June 2018, President Trump warned China that

he would consider imposing additional tariffs on Chinese goods if China retaliated against the

United States. See, e.g., Vicki Needham & Max Greenwood, Trump Announces Tariffs on $50

Billion        in    Chinese    Goods,       THE    HILL    (June    15,        2018),    available   at

https://thehill.com/homenews/administration/392421-trump-announces-tariffs-on-50-billion-in-

chinese-goods. (“The president said the United States will pursue additional tariffs if China

retaliates ‘such as imposing new tariffs on United States goods, services or agricultural products;

raising non-tariff barriers; or taking punitive actions against American exporters or American

companies operating in China.”)

          37.       Following through on his warning, on June 18, 2018, President Trump formally

directed USTR to consider whether the United States should impose additional duties on products

                                                    12
         Case 1:20-cv-00203-N/A Document 2               Filed 09/17/20      Page 13 of 29



from China with an estimated trade value of $200 billion — despite USTR having not yet

implemented List 1 and List 2. President Trump acknowledged that China’s threatened retaliatory

“tariffs on $50 billion worth of United States exports” motivated his decision. THE WHITE

HOUSE, Statement from the President Regarding Trade with China (June 18, 2018), available at

https://www.whitehouse.gov/briefings-statements/statement-president-regarding-trade-china-2/

(“This latest action by China clearly indicates its determination to keep the United States at a

permanent and unfair disadvantage, which is reflected in our massive $376 billion trade imbalance

in goods. This is unacceptable.”).

       38.     Acknowledging the purpose of the President’s directive, USTR stated that it would

design the newly proposed duties to address China’s threatened retaliatory measures, rather than any of

the harm identified in its Section 301 investigation. OFFICE OF THE UNITED STATES TRADE

REPRESENTATIVE, USTR Robert Lighthizer Statement on the President’s Additional China Trade

Action (June 18, 2018), available at https://ustr.gov/about-us/policy-offices/press-office/press-

releases/2018/june/ustr-robert-lighthizer-statement-0 (explaining that, although Lists 1 and 2 “were

proportionate and responsive to forced technology transfer and intellectual property theft by the

Chinese” identified in the Section 301 investigation, the proposed duties for a third list of products

were necessary to respond to the retaliatory and “unjustified tariffs” that China may impose to

target “U.S. workers, farmers, ranchers, and businesses”).

       39.     Despite these warnings from Defendants, China retaliated by imposing 25 percent

ad valorem tariffs on $50 billion in U.S. goods implemented in two stages of $34 billion and $16

billion on the same dates the United States began collecting its own 25 percent tariffs under List 1

(July 6, 2018) and List 2 (August 23, 2018).




                                                  13
         Case 1:20-cv-00203-N/A Document 2                 Filed 09/17/20       Page 14 of 29



        40.     About a week after China imposed its first round of retaliatory duties, USTR

published notice of its proposal to “modify the action in this investigation by maintaining the

original $34 billion action and the proposed $16 billion action, and by taking a further

supplemental action” in the form of “an additional 10 percent ad valorem duty on [a list of]

products [from] China with an annual trade value of approximately $200 billion.” Request for

Comments Concerning Proposed Modification of Action Pursuant to Section 301: China’s Acts,

Policies, and Practices Related to Technology Transfer, Intellectual Property, and Innovation, 83

Fed. Reg. 33,608, 33,608 (July 17, 2018). USTR invoked Section 307(a)(1)(C) of the Trade Act,

pursuant to which USTR “may modify or terminate any action, subject to the specific direction, if

any, of the President with respect to such action, . . . if . . . such action is being taken under [Section

301(b)] of this title and is no longer appropriate.” Id. at 33,609 (citing 19 U.S.C. § 2417(a)(1)(c)).

USTR initially set a deadline of August 17, 2018 for initial comments; August 20-23, 2018 for a

public hearing; and August 30, 2018 for rebuttal comments. Id. at 33,608.

        41.     In its notice, USTR confirmed that it had relied on China’s decision to impose

“retaliatory duties” as the primary basis for its proposed action. Id. at 33,609 (asserting as

justification “China’s response to the $50 billion action announced in the investigation and its refusal

to change its acts, policies, and practices”). USTR explicitly tied the $200 billion in its proposed

action to the level of retaliatory duties imposed by China on U.S. imports, noting that “action at this

level is appropriate in light of the level of China’s announced retaliatory action ($50 billion) and the

level of Chinese goods imported into the United States ($505 billion in 2017).” Id.; see also id.

(Because “China’s retaliatory action covers a substantial percentage of U.S. goods exported to China

($130 billion in 2017),” “the level of the U.S. supplemental action must cover a substantial

percentage of Chinese imports.”). Although it pointed to China’s retaliatory measures, USTR did



                                                    14
         Case 1:20-cv-00203-N/A Document 2                   Filed 09/17/20   Page 15 of 29



not identify any increased burdens or restrictions on U.S. commerce resulting from the unfair

practices that USTR had investigated. See id.

       42.     USTR’s contemporaneous press statements corroborated the contents of its notice:

China’s retaliatory duties motivated its proposed action. Ambassador Lighthizer stated that the proposed

action came “[a]s a result of China’s retaliation and failure to change its practice.” OFFICE OF THE

UNITED STATES TRADE REPRESENTATIVE, Statement by U.S. Trade Representative Robert

Lighthizer on Section 301 Action (July 10, 2018), available at https://ustr.gov/about-us/policy-

offices/press-office/press-releases/2018/july/statement-us-trade-

representative#:~:text=Washington%2C%20DC%E2%80%93%20U.S.%20Trade%20Representative

%20Robert%20Lighthizer%20today,on%20approximately%20%2434%20billion%20worth%20of%2

0Chinese%20imports.

       43.     That same day, President Trump suggested that the United States’ trade imbalance with

China supported the decision. @realDonaldTrump, TWITTER (July 10, 2018, 9:17 PM EDT),

https://twitter.com/realDonaldTnimp/status/1005982266496094209. Over the following weeks,

President Trump also expressed his frustration over China’s purported manipulation of its currency

and national monetary policy, as well as his continued displeasure over China’s retaliatory tariffs and

the trade imbalance between the two nations. See, e.g., @realDonaldTrump, Twitter (July 20,

2018, 8:43 AM EDT), https://twitter.com/realDonaldTrump/status/1020287981020729344;

@realDonaldTrump,            TWITTER         (July        20,       2018,     8:51        AM     EDT),

https://twitter.com/realDonaldTrump/status/1020290163933630464;                      @realDonaldTrump,

TWITTER              (July           25,             2018,           7:20            AM          EDT),

https://twitter.com/realDonaldTrump/status/1022079127799701504?ref_src=twsrc%5Etfw%7Ct

wcamp%5Etweetembed%7Ctwterm%5E1022079127799701504%7Ctwgr%5Eshare_3&ref_url=



                                                     15
           Case 1:20-cv-00203-N/A Document 2                   Filed 09/17/20     Page 16 of 29



https%3A%2F%2Fdailycaller.com%2F2018%2F07%2F25%2Ftrump-china-vicious-trade-

tweet%2F;       @realDonaldTrump,           Twitter        (July   25,    2018,     7:01      AM      EDT),

https://twitter.com/realDonaldTrump/status/1022074252999225344 .

        44.     Within days of these statements, Ambassador Lighthizer announced that, considering

China’s retaliatory duties, USTR would propose to increase the additional duty from 10 percent to 25

percent ad valorem. Rather than addressing the practices that USTR investigated pursuant to Section

301 of the Trade Act, he stated that China “[r]egrettably . . . has illegally retaliated against U.S. workers,

farmers,    ranchers    and    businesses.”    OFFICE        OF    THE    UNITED       STATES       TRADE

REPRESENTATIVE, Statement by U.S. Trade Representative Robert Lighthizer on Section 301

Action (Aug. 1, 2018), available at https://ustr.gov/about-us/policy-offices/press-office/press-

releases/2018/august/statement-us-trade-representative.

        45.     Shortly thereafter, USTR, at the direction of President Trump, formally proposed

“raising the level of the additional duty in the proposed supplemental action from 10 percent to 25

percent.” Extension of Public Comment Period Concerning Proposed Modification of Action Pursuant

to Section 301: China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual

Property, and Innovation, 83 Fed. Reg. 38,760, 38,760 (Aug. 7, 2018). USTR also set new dates for a

public hearing over six days ending on August 27, 2018. See id.; see also OFFICE OF THE UNITED

STATES TRADE REPRESENTATIVE, Public Hearings on Proposed Section 301 Tariff” List (Aug.

17, 2018) (modifying hearing schedule), available at https://ustr.gov/about-us/policy-

offices/press-office/press-releases/2018/august/public-hearings-proposed-section-301.

        46.     At the same time, USTR adjusted the deadlines for the submission of written

comments, setting September 6, 2018 — less than a month later — as the new deadline for both

initial and rebuttal comments from the public. 83 Fed. Reg. at 38,761. That adjustment, deviating



                                                      16
         Case 1:20-cv-00203-N/A Document 2               Filed 09/17/20     Page 17 of 29



from its past practices, prevented both USTR and the public from considering initial comments at

the hearing and left insufficient time for interested parties to review and respond to the initial

comments filed by other parties. USTR also limited each hearing participant to five minutes.

Docket No. USTR-2018-0026, https://beta.regulations.gov/document/USTR-2018-0026-0001.

Despite those obstacles, approximately 350 witnesses appeared at the six-day hearing, and the

public submitted over 6,000 comments. Id.

       47.     Just eleven days after receiving final comments from the public, President Trump

announced that he had directed USTR “to proceed with placing additional tariffs on roughly $200

billion of imports from China.” THE WHITE HOUSE, Statement from the President (Sept. 17, 2018)

https://www.whitehouse.gov/briefings-statements/statement-from-the-president-4/. Once again,

the President made clear that China’s response to the $50 billion tariff action (i.e., List 1 and List

2 duties) motived his decision, and he immediately promised to proceed with “phase three” of the

plan –an additional $267 billion tariff action – “if China takes retaliatory action against our

farmers or other industries.” Id.

       48.     Following the President’s announcement, USTR published notice of the final list

of products subject to an additional duty, a list commonly known as “List 3”. 83 Fed. Reg. at

47,974. USTR imposed a 10 percent ad valorem tariff that was set to rise automatically to 25

percent on January 1, 2019. Id. USTR determined that the List 3 duties would apply to all listed

products that enter the United States from China on or after September 24, 2018. Id. USTR did not

respond to any of the over 6,000 comments that it received or any of the testimony provided by

roughly 350 witnesses. Id.

       49.     As legal support for its action, USTR for the first time referenced Section

307(a)(1)(B) of the Trade Act, which provides that USTR “may modify or terminate any action,



                                                 17
         Case 1:20-cv-00203-N/A Document 2                 Filed 09/17/20      Page 18 of 29



subject to the specific direction . . . of the President . . . taken under Section 301 if . . . the burden

or restriction on United States commerce of the denial of rights, or of the acts, policies, or practices,

that are the subject of such action has increased or decreased.” Id. (brackets omitted). USTR stated

that the relevant burden “continues to increase, including following the one-year investigation

period,” adding that “China’s unfair acts, policies, and practices include not just its specific

technology transfer and IP policies referenced in the notice of initiation in the investigation, but

also China’s subsequent defensive actions taken to maintain those policies.” Id. USTR also cited

Section 307(a)(1)(C) of the Trade Act, arguing that China’s response to the $50 billion tariff action

“has shown that the current action no longer is appropriate” because “China openly has responded

to the current action by choosing to cause further harm to the U.S. economy, by increasing duties

on U.S. exports to China.” Id. at 47,975.

        50.     In the months that followed, China and the United States attempted to resolve their

differences through trade negotiations. Based on the progress made with China in those

negotiations, the Trump Administration announced in December 2018, and again in February

2019, that it would delay the scheduled increase in the List 3 duty rate from 10 to 25 percent.

Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

Technology Transfer, Intellectual Property, and Innovation, 83 Fed. Reg. 65,198 (Dec. 19, 2018);

Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 7,966 (March 5, 2019).

        51.     The trade negotiations ultimately fell apart. In May 2019, USTR announced its

intent to raise the tariff rate on List 3 goods to 25 percent, effective either May 10, 2019 or June

1, 2019, depending on the day of export. See Notice of Modification of Section 301 Action: China’s

Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and



                                                   18
        Case 1:20-cv-00203-N/A Document 2              Filed 09/17/20      Page 19 of 29



Innovation, 84 Fed. Reg. 20,459 (May 9, 2019) (“List 3 Rate Increase Notice”); see also

Implementing Modification to Section 301 Action: China’s Acts, Policies, and Practices Related

to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 21,892 (May 15,

2019). The notice cited China’s decision to “retreat from specific commitments agreed to in earlier

rounds” of negotiations as the basis for the increase in the duty rate. List 3 Rate Increase Notice,

84 Fed. Reg. at 20,459. Unlike with past imposition of new tariffs, USTR did not seek public

comment but rather simply announced that the increase would occur. Id.

       52.     Recognizing that List 3 would cause substantial harm to U.S. companies and

consumers, as well as the U.S. economy, USTR in June 2019 invited the public to seek exclusions

from List 3 duties on a product-specific basis. Procedures for Requests to Exclude Particular

Products From the September 2018 Action Pursuant to Section 301: China’s Acts, Policies, and

Practices Related to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg.

29,576 (June 24, 2019). Shandex did not file any exclusion requests and paid the additional duty

rate for all of its imported products covered under List 3 under the HTSUS subheadings listed in

Paragraph 10 of this complaint.

       53.     The duties imposed on products covered by List 3 remain in effect as of the date of

this Complaint, except for the limited number of products for which USTR extended its originally

granted exclusions from the List 3 duties. See, e.g., Notice of Product Exclusion Extensions:

China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 85 Fed. Reg. 48,600 (Aug. 11, 2020).

       B.      List 4A

       54.     On May 17, 2019, USTR announced its intent to proceed with another round of

“proposed modification” of the actions it had taken against China pursuant to Section 301. This

proposed action covered product on China with an annual trade value of approximately $300 billion,

                                                19
        Case 1:20-cv-00203-N/A Document 2              Filed 09/17/20       Page 20 of 29



which “covers essentially all products not currently covered by the action in this investigation.”

Request for Comments Concerning Proposed Modification of Action Pursuant to Section 301:

China’s Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation, 84 Fed. Reg. 22,564, 22,564 (May 17, 2019). The proposed modification and request

for public comment included a fourth list of tariff subheadings (known as List 4A) that would be

subject to an additional duty of 25 percent ad valorem. Id. USTR explained that its decision was

motivated by China’s “retreat[] from specific commitments made in previous [negotiating] rounds

[and] announce[ment of] further retaliatory action against U.S. commerce.” Id.

       55.       Once again, USTR requested public comments on proposed List 4 and held a public

hearing. Id. Nearly 3,000 comments were submitted on USTR Docket No. USTR-2019-0004,

https://beta.regulations.gov/document/USTR-2019-0004-0001         Despite    the   opportunity   to

comment, the timeline for participation in the hearing left little room for meaningful input: USTR

required witnesses to submit drafts of their testimony by June 10, 2019, only seven days before

the deadline for submitting written comments by June 17, 2020, and witnesses testimony was

limited to five minutes at the hearing which was also held on June 17. After the hearing, USTR

allowed only seven days in which interested parties could file any post-hearing rebuttal comments.

Id.

       56.       On August 1, 2019, citing China’s failure to follow through on agricultural

purchases and to reduce exports of fentanyl flowing into the United States, President Trump

announced that the List 4A tariffs would become effective September 1, 2019 at a rate of 10 percent

ad    valorem.     @realDonaldTrump,     TWITTER       (Aug.    1,   2019,     1:26   PM    EDT),

https://twitter.com/realDonaldTrump/status/1156979446877962243 (noting a “small additional




                                                20
         Case 1:20-cv-00203-N/A Document 2              Filed 09/17/20     Page 21 of 29



Tariff of 10% on the remaining 300 Billion Dollars of goods and products coming from China into

our Country”).

       57.       On August 20, 2019, USTR issued a final notice adopting List 4 in two tranches.

Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to

Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 43,304 (Aug. 20, 2019).

List 4A would impose a 10 percent ad valorem duty on goods worth roughly $120 billion, effective

September 1, 2019. Id. at 43,304. List 4B would impose a 10 percent ad valorem duty on the

remaining goods (with limited exclusions “based on health, safety, national security, and other

factors”), effective December 15, 2019. Id. at 43,305. As with past determinations, USTR again

did not describe, address, categorize, discuss or refute any of the nearly 3,000 comments submitted

or any of the testimony provided by witnesses for this modification. Id. Further, it noted that no

public comment and review opportunity will be provided for future modifications; instead, “the

Trade Representative intends to take into account the extensive public comments and testimony

previously provided in response to the May 17 notice.” Id.

       58.       As legal support for its action, USTR again cited Section 307(a)(1)(B) and (C) of

the Trade Act, stating that it may modify its prior action taken pursuant to Section 301 of the Trade

Act if (1) “[t]he burden or restriction on United States commerce” imposed by the investigated

foreign country practice “has increased or decreased,” or (2) “the action . . . is no longer

appropriate.” Id. at 43,304. But instead of finding any increased burden on U.S. commerce from

the practices that were the subject of USTR’s investigation, USTR merely pointed to “China’s

subsequent defensive actions taken to maintain those unfair acts, policies, and practices as

determined in that investigation,” including retaliatory tariffs on U.S. imports, retreating from

commitments during negotiations, and devaluing its currency. Id. The notice also indicated that



                                                 21
        Case 1:20-cv-00203-N/A Document 2              Filed 09/17/20      Page 22 of 29



in a round of late July 2019 meetings between the United States and China, China “remained

unwilling to return to the specific commitments it had offered in prior rounds of negotiations.” Id.

It further noted that the Treasury Department had determined that “China has taken concrete steps

to devalue its currency”, an issue which was not even part of the scope of the original Section 301

investigation by USTR.

       59.     On August 30, 2019, USTR published notice announcing its intent to increase the

tariff rate applicable to goods covered by List 4A and List 4B from 10 percent to 15 percent. Notice

of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related to Technology

Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 45,821 (Aug. 30, 2019). USTR

explained that it increased the tariff rate because, shortly after it finalized List 4A and List 4B,

““China responded by announcing further tariffs on U.S. goods”“ and “threatened additional

retaliation.” Id. at 45,822. USTR once again cited to China’s retreat from its negotiation

commitments and devaluation of its currency as grounds for its action. Id.

       60.     In modifying the earlier List 4A duties in this notice, USTR provided no

opportunity for public review and comment, and instead only “takes in account the public

comments and testimony” previously received in the May 17 notice. Id., at 45,823.

       61.     The List 4A tariffs went into effect on September 1, 2019, as scheduled.

       62.     On October 18, 2019, USTR announced on its web site that it would begin

accepting tariff exclusion requests on October 31, 2019 for imports from China subject to the

additional   15    percent   (List   4A).    https://ustr.gov/issue-areas/enforcement/section-301-

investigations/section-301-china/china-section-301-tariff. Exclusion requests were accepted on

USTR Docket 2019-0005 from October 31, 2019 until January 31, 2020. Procedures for Requests

To Exclude Particular Products From the August 2019 Action Pursuant to Section 301: China’s



                                                22
         Case 1:20-cv-00203-N/A Document 2               Filed 09/17/20     Page 23 of 29



Acts, Policies, and Practices Related to Technology Transfer, Intellectual Property, and

Innovation. 84 Fed. Reg. 57144 (October 24, 2019). Shandex did not file any exclusion requests

and has paid the additional duty rate for all of its imported products covered under List 4A under

HTSUS subheadings listed in Paragraph 10 of this complaint.

       63.     On December 18, 2019, after negotiating a limited trade deal with China, USTR

published notice that it would “suspend indefinitely the imposition of additional duties of 15 percent

on products of China covered by” List 4B, which would have been effective on December 15,

2019. Notice of Modification of Section 301 Action: China’s Acts, Policies, and Practices Related

to Technology Transfer, Intellectual Property, and Innovation, 84 Fed. Reg. 69,447, 69,447 (Dec.

18, 2019). USTR also indicated that it would soon provide separate notice reducing the tariff rate

applicable to products covered by List 4A. Id. On January 22, 2020, USTR issued notice that the

rate of additional duty on List 4A products would be reduced from 15 percent to 7.5 percent on

February 14, 2020. Notice of Modification of Section 301 Action: China’s Acts, Policies, and

Practices Related to Technology Transfer, Intellectual Property, and Innovation, 85 Fed. Reg.

3,741 (Jan. 22, 2020).

       64.     Again, in promulgating this modification, USTR offered no opportunity for public

comment and review. Id. It simply noted that “to modify the action being taken in this

investigation takes into account the extensive comments and testimony previously provided in

connection with the August 20 modification”. Id.

       65.     On January 15, 2020, the United States and China signed a “Phase One” deal that

had been negotiated in December 2019. OFFICE OF THE UNITED STATES TRADE

REPRESENTATIVE, United States and China Reach Phase One Trade Agreement (Dec. 13, 2019),

https://ustr.gov/about-us/policy-offices/press-office/press-releases/2019/december/united-states-



                                                 23
         Case 1:20-cv-00203-N/A Document 2              Filed 09/17/20     Page 24 of 29



and-china-reach. See also https://www.whitehouse.gov/briefings-statements/remarks-president-

trump-signing-u-s-china-phase-one-trade-agreement/.

        66.     The duties imposed on products covered by List 4A remain in effect as of the date

of this Complaint.     Although the proposed duties on products covered by List 4B remain

suspended, President Trump has continued to threaten to impose them if China does not meet its

obligations under their limited trade deal. See, e.g., @realDonaldTrump, TWITTER (June 22,

2020, 10:22 PM EDT), https://twitter.com/realDonaldTrump/status/1275252814206447618 (“The

China Trade Deal is fully intact. Hopefully they will continue to live up to the terms of the

Agreement!”).

                                    STATEMENT OF CLAIMS

                                              COUNT ONE

     (DECLARATORY JUDGMENT—VIOLATION OF THE TRADE ACT OF 1974)

        67.     Paragraphs 1 through 66 are incorporated by reference.

        68.     The Declaratory Judgment Act authorizes any court of the United States to “declare

the rights and other legal relations of any interested party seeking such declaration, whether or not

further relief is or could be sought.” 28 U.S.C. § 2201(a).

        69.     The Trade Act of 1974 does not authorize the actions taken by Defendants that

resulted in the List 3 and List 4A tariffs.

        70.     Pursuant to Section 301 of the Trade Act, USTR may impose tariffs when it

determines that “an act, policy, or practice of a foreign country is unreasonable or discriminatory

and burdens or restricts United States commerce, and action by the United States is appropriate.”

19 U.S.C. § 2411(b). USTR failed to predicate its action giving rise to List 3 and List 4A on any

such determination.



                                                 24
         Case 1:20-cv-00203-N/A Document 2                Filed 09/17/20      Page 25 of 29



        71.    If USTR concludes upon investigation that a foreign country maintains an unfair

trade practice, Section 304 of the Trade Act requires USTR to “determine what action, if any,” to

take within “12 months after the date on which the investigation is initiated.” 19 U.S.C. §

2414(a)(1)(B) and (2)(B). USTR’s action giving rise to List 3 and List 4A occurred in September

2018, over a year after USTR initiated the underlying Section 301 investigation on August 18,

2017.

        72.    Section 307 of the Trade Act authorizes USTR to “modify or terminate” an action

taken pursuant to Section 301(b) of the Trade Act when the burden imposed on U.S. commerce from

the foreign country’s investigated unfair acts, policies, or practices increases or decreases. 19 U.S.C.

§ 2417(a)(1)(B). Section 307 of the Trade Act, however, does not permit Defendants to increase

tariffs for reasons unrelated to the acts, policies, or practices that USTR investigated pursuant to

Section 301 of the Trade Act. Congress did not authorize USTR to escalate its focused

investigatory findings into an open-ended trade war.

        73.    Section 307 of the Trade Act also authorizes USTR to “modify or terminate” an

action taken pursuant to Section 301(b) of the Trade Act if the initial action taken by USTR “is no

longer appropriate.” 19 U.S.C. § 2417(a)(1)(C). Section 307 of the Trade Act does not authorize

Defendants to expand the scope of tariff actions that are no longer “appropriate,” but rather only

to modify or terminate such actions within the constraints of the authority empowered by Section

301 of the Trade Act.

        74.    Plaintiff is therefore entitled to a declaratory judgment that Defendants’ actions

giving rise to List 3 and List 4A are ultra vires and contrary to law.




                                                  25
         Case 1:20-cv-00203-N/A Document 2                Filed 09/17/20     Page 26 of 29



                                           COUNT TWO

             (VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT)

       75.       Paragraphs 1 through 66 are incorporated by reference.

       76.       The APA authorizes the Court to hold unlawful and set aside agency action that is:

“(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law; (B)

contrary to constitutional right, power, privilege, or immunity; (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right; (D) without observance of

procedure required by law; [or] (E) unsupported by substantial evidence.” 5 U.S.C. § 706(2).

       77.       Defendants exceeded their authority under the Trade Act in promulgating List 3

and List 4A and therefore acted “not in accordance with the law” and “in excess of statutory

authority” for the reasons set forth in Count One.

       78.       Defendants failed to offer any evidence for any asserted “increased burden” from

China’s intellectual property policies and practices that were the subject of USTR’s Section 301

investigation.

       79.       Defendants also promulgated List 3 and List 4A in an arbitrary and capricious manner

because they did not provide a sufficient opportunity for comment, failed to meaningfully consider

relevant factors when making their decisions, and failed to adequately explain their rationale.

Defendants’ preordained decision-making resulted in the unlawful imposition of tariffs on imports

covered by List 3 and List 4A.

       80.       Defendants failed to provide the opportunity for comments for its modification of List

4A demanded by the Trade Act and are thus “without observance of procedure required by law.”

       81.       Defendants’ promulgation of List 3 and List 4A and modification of List 4A

violated the APA’s notice and comment requirements. The APA defines a “rule” as an “agency

statement of general or particular applicability and future effect designed to implement . . . or

                                                  26
         Case 1:20-cv-00203-N/A Document 2               Filed 09/17/20     Page 27 of 29



prescribe . . . policy.” 5 U.S.C. § 551(4); see also Am. Frozen Food Inst., Inc. v. United States, 18

CIT 565, 573, 855 F. Supp. 388, 396 (1994) (“[S]ubstantive or legislative-type rules are those

which relate to and change the standards of conduct, and have force of law.”). A “rule making,”

in turn, includes not only the initial issuance of new rules but also the repeal or amendment of

existing rules. 5 U.S.C. § 551(5). Under 5 U.S.C. § 553, all “legislative rules” must go through a

mandatory notice and comment period process to be valid. Exceptions to the notice and comment

requirement exist, however, for “interpretative rules” and “general statements of policy.” 5 U.S.C.

§ 553(b). If a rule “adopts ‘a new position inconsistent with’ an existing regulation, or effects ‘a

substantive change in the regulation,’ notice and comment are required.” U.S. Telecom Ass’n v.

FCC., 365 U.S. App. D.C. 149, 400 F.3d 29, 35 (D.C. Cir. 2005) (quoting Shalala v. Guernsey

Mem’l Hosp., 514 U.S. 87, 100, 115 S. Ct. 1232, 131 L. Ed. 2d 106 (1995)) (emphasis omitted);

Tennessee Hosp. Ass’n v. Azar, 908 F.2d 1029, 1042 (6th Cir. 2018) (“If an agency attempts to

issue a legislative rule without abiding by the APA’s procedural requirements, the rule is invalid.”).

                                     PRAYER FOR RELIEF

       Wherefore, Plaintiff respectfully requests that this Court

       (1)     declare that Defendants’ actions resulting in tariffs on products covered by List 3

               and List 4A are unauthorized by, and contrary to, the Trade Act;

       (2)     declare that Defendants arbitrarily and unlawfully promulgated List 3 and List 4A

               in violation of the APA;

       (3)     vacate the List 3 rulemaking and List 4A rulemaking;

       (4)     order Defendants to refund, with interest, any duties paid by Plaintiff pursuant to

               List 3 and List 4A;

       (5)     permanently enjoin Defendants from applying List 3 and List 4A against Plaintiff

               and collecting any duties from Plaintiff pursuant to List 3 and List 4A;

                                                 27
        Case 1:20-cv-00203-N/A Document 2                Filed 09/17/20   Page 28 of 29



      (6)    award Plaintiff its costs and reasonable attorney fees; and grant such other and

             further relief as may be just and proper.

                                            Respectfully submitted,


                                            /s/ David M. Schwartz
                                            David M. Schwartz
                                            Meixuan (Michelle) Li

                                            Thompson Hine LLP
                                            1919 M Street, NW, Suite 700
                                            Washington, D.C. 22036

                                            Counsel to Shandex Corporation

Dated: September 17, 2020




                                               28
         Case 1:20-cv-00203-N/A Document 2                 Filed 09/17/20   Page 29 of 29



                               CERTIFICATE OF SERVICE

       Pursuant to U.S. Court of International Trade Rule 4(b) and (h), I hereby certify that on

September 17, 2020, copies of Plaintiff’s Summons and Complaint were served on the following

parties by certified mail, return receipt requested:

 Attorney-In-Charge                                    Attorney-In-Charge
 International Trade Field Office                      Commercial Litigation Branch
 Commercial Litigation Branch                          U.S. Department of Justice
 U.S. Department of Justice                            1100 L Street, NW
 26 Federal Plaza                                      Washington, DC 20530
 New York, NY 10278

 General Counsel Joseph L. Barloon                     Chief Counsel Scott K. Falk
 Office of the General Counsel                         Office of Chief Counsel U.S.
 Office of the U.S. Trade Representative               Customs & Border Protection
 600 17th Street, NW                                   1300 Pennsylvania Ave., NW
 Washington, DC 20006                                  Washington, DC 20229



                                                                         /s/ David M. Schwartz
